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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

TAVON HARGETT,
SHELBY WOODS, and
FELECIA WRIGHT

                      Plaintiffs,
v.
                                                   Civil Action No.: 1:14-cv-2114-TFH
NCO FINANCIAL SYSTEMS, INC.,
and MITCHELL RUBENSTEIN &
ASSOCIATES, P.C.,

                      Defendants

                                    NOTICE OF SETTLEMENT

       Plaintiffs, Tavon Hargett, Shelby Woods, and Felicia Wright (“Plaintiffs”) by and

through undersigned counsel, hereby provide notice to the Court that a settlement agreement

between Plaintiffs and Defendant NCO Financial Systems, Inc. (“NCO”) has been reached.

Plaintiffs and NCO will prepare settlement documents and expect to file a Stipulation of

Dismissal with Prejudice as to NCO within 60 days.



DATED: November 20, 2015                      Respectfully submitted,

                                               /s/ Dean Gregory              y
                                              Dean Gregory (Bar No. 1008846)
                                              LAW OFFICES OF DEAN GREGORY
                                              1717 K Street NW
                                              Suite 900
                                              Washington, D.C. 20006
                                              Telephone: (202) 905-8058
                                              Facsimile: (202) 776-0136
                                              E-mail: dean@deangregory.com

                                              Attorney for PLAINTIFFS




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                                CERTIFICATE OF SERVICE

       I certify that on November 20, 2015, a copy of the foregoing was filed electronically in

the ECF system. Notice of this filing will be sent to the parties of record by operation of the

Court’s electronic filing system. Parties may access this filing through the Court’s system.



                                                     /s/ Dean Gregory              y
                                                    Dean Gregory




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